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CLERK US DISTRICT COURT

DISTRICT OF NEVADA
BY: DEPUTY

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

UNITED STATES OF AMERICA,
Plaintiff,
V.

RICHARD EDWIN SANCHEZ,
AKA “TRIGGER”

Defendant.

CRIMINAL INDICTMENT

Case No. 2:23-cr- 0/4 9 “GSS DTH
VIOLATIONS:

21 U.S.C. §§ 841(a)(1) and (b)(1)(b) -
Distribution of a Controlled Substance

18 U.S.C. §§ 922(a)(1)(A), 923(a), and
924(a)(1)(D) — Engaging in the Business of
Dealing and Manufacturing Firearms Without a
[License

18 U.S.C. § 922(0) — Possession or Transfer
of a Machinegun

THE GRAND JURY CHARGES THAT:

COUNT ONE

Distribution of a Controlled Substance
(21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

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On or about April 21, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly and intentionally distribute cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(C).

COUNT TWO

Engaging in the Business of Dealing or Manufacturing Firearms Without a License
(18 U.S.C. §§ 922(a)(1)(A), 923(a) and 924(a)(1)(D))

Between on or about April 24, 2023, and August 3, 2023, in the State and Federal
District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, not being a licensed dealer, importer, or manufacturer of firearms within
the meaning of Chapter 44, Title 18, United States Code, did willfully engage in the
business of dealing firearms, in violation of Title 18, United States Code, Sections
922(a)(1)(A), 923(a), and 924(a)(1)(D).
COUNT THREE
Distribution of a Controlled Substance
(21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
On or about April 24, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly and intentionally distribute cocaine, a Schedule I
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).

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COUNT FOUR
Distribution of a Controlled Substance
(21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

On or about April 26, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly and intentionally distribute cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(C).

COUNT FIVE

Distribution of a Controlled Substance
(21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

On or about May 1, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly and intentionally distribute cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(C).
COUNT SIx
Distribution of a Controlled Substance
(21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
On or about May 5, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly and intentionally distribute cocaine, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).

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COUNT SEVEN
Distribution of a Controlled Substance
(21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

On or about May 18, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly and intentionally distribute cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(C).

COUNT EIGHT

Possession or Transfer of a Machinegun
(18 U.S.C. §§ 922(0) and 924(a)(2)

On or about May 18, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly possess or transfer a machinegun, to wit: four selector
switches used to modify semi-automatic firearms to fire as fully automatic firearms,
enabling the firearm to automatically shoot more than one shot without manual reloading,
by a single function of the trigger, all in violation of Title 18, United States Code, Section
922(0) and 924(a)(2).

COUNT NINE

Distribution of a Controlled Substance
(21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

On or about May 23, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

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defendant herein, did knowingly and intentionally distribute cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(C).

COUNT TEN
Possession or Transfer of a Machinegun
(18 U.S.C. §§ 922(0) and 924(a)(2)

On or about June 6, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly possess or transfer a machinegun, to wit: seven selector
switches used to modify semi-automatic firearms to fire as fully automatic firearms,
enabling the firearm to automatically shoot more than one shot without manual reloading,
by a single function of the trigger, all in violation of Title 18, United States Code, Section
922(0) and 924(a)(2).
COUNT ELEVEN
Possession or Transfer of a Machinegun
(18 U.S.C. §§ 922(0) and 924(a)(2)

On or about June 13, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly possess or transfer a machinegun, to wit: seven selector
switches used to modify semi-automatic firearms to fire as fully automatic firearms,
enabling the firearm to automatically shoot more than one shot without manual reloading,
by a single function of the trigger, all in violation of Title 18, United States Code, Section

922(o) and 924(a)(2).

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COUNT TWELVE
Possession or Transfer of a Machinegun

(18 U.S.C. §§ 922(0) and 924(a)(2)

On or about August 3, 2023, in the State and Federal District of Nevada,

RICHARD EDWIN SANCHEZ,
aka “Trigger,”

defendant herein, did knowingly possess or transfer a machinegun, to wit: three selector
switches used to modify semi-automatic firearms to fire as fully automatic firearms,
enabling the firearm to automatically shoot more than one shot without manual reloading,

by a single function of the trigger, all in violation of Title 18, United States Code, Section

922(0) and 924(a)(2).
DATED: this 23 day of August 2023.
A TRUE BILL:
/S/
FOREPERSON OF THE GRAND JURY
JASON M. FRIERSON

United States Attorney

DAVID KIEBLER
Assistant United States Attorney

